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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

FEDERAL NATIONAL MORTGAGE                 )
ASSOCIATION, a corporation established    )
pursuant to 12 U.S.C. § 1716 et seq.,     )
                                          )
               Plaintiff,                 )
                                          )                          No. 11-13891
        v.                                )
                                          )                          Hon. Avern Cohn
PINE GROVE APARTMENTS OF ROSEVILLE, LTD. )
a/k/a PINE GROVE APARTMENTS OF ROSEVILLE, )
LIMITED PARTNERSHIP, an Ohio limited      )
partnership; PINE GROVE APARTMENTS OF     )
ROSEVILLE, II, LTD. a/k/a PINE GROVE      )
APARTMENTS OF ROSEVILLE, II, LIMITED      )
PARTNERSHIP, an Ohio limited partnership, )
                                          )
               Defendants.                )

                       ORDER OF DISMISSAL WITHOUT PREJUDICE

       WHEREAS a receiver was appointed in this case and Defendants failed to answer or

otherwise respond and are in default, the redemption period for the subject property has expired

and the need for a receiver is now moot, pursuant to Fed. R. Civ. P. 66 an action where a receiver

has been appointed may be dismissed only by court order, and the Court being otherwise advised

in the premises;

       IT IS HEREBY ORDERED that pursuant to Fed. R. Civ. P. 41(a)(2), the above captioned

case is hereby dismissed without prejudice.

       IT IS SO ORDERED.


Dated: July 05, 2012                            s/Avern Cohn
                                                AVERN COHN
                                                UNITED STATES DISTRICT COURT JUDGE
